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                              UNITED STATES DISTRICT COURT
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                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11

12    UNITED STATES OF AMERICA,               No. CV 20-9714-CAS(JPRx)

13               PLAINTIFF,                   CONSENT JUDGMENT
14                    V.

15    300,901 TETHER VIRTUAL CURRENCY,

16             DEFENDANT.
     _________________________________
17
     SHIXUAN CAI,
18
                 CLAIMANT.
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           Plaintiff, the United States of America (the “government”), and
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      Shixuan Cai, by and through his counsel of record, have stipulated
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      and requested that the Court enter this consent judgment for
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      forfeiture to carry into effect the terms of the stipulation as to
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      the defendant in this action, namely 300,901 in Tether virtual
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      Currency (the “Defendant Funds”), which is dispositive of this
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      action.
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 1         The Court, having considered the stipulation of the parties,

 2    and good cause appearing therefor, HEREBY ORDERS, ADJUDGES AND

 3    DECREES:

 4         1.    The government has given and published notice of this

 5    action as required by law, including Rule G of the Supplemental

 6    Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,

 7    Federal Rules of Civil Procedure, and the Local Rules of this Court.

 8    The government has received timely claims from Claimant, no other

 9    claims have been filed, and the time for filing claims has expired.

10    This Court has jurisdiction over the parties and the Defendant

11    Funds.

12         2.    The government has agreed to the return of the Defendant

13    Funds.    Any potential claimants to the Defendant Funds other than

14    Claimant are deemed to have admitted the allegations of the

15    complaint.    Nothing in this consent judgment is intended or should

16    be interpreted as an admission of wrongdoing by Claimant.

17         3.    The government shall return the Defendant Funds, without

18    interest, to Claimant through his counsel.

19         4.    Upon request from the government, Claimant, through his

20    counsel, shall provide the necessary account information to complete

21    the transfer of the Defendant Funds.

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